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                          UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF PENNSYLVANIA


IN THE MATTER OF APPLICATION FOR    :
ADMISSION TO PRACTICE IN THIS COURT :



                                          PETITION

              Karen L. Hoffmann
       I _________________________________,        hereby petition the United States District
Court for the Middle District of Pennsylvania to admit me to practice before that Court. In
support of my petition, I state as follows:

My office address is:        __________________________________________
                              Syrena Law
                              128 Chestnut Street, Suite 301A
                             __________________________________________
                              Philadelphia, PA 19106

                             __________________________________________

       Office Telephone:     __________________________________________
                              412-916-4509

      I was admitted to practice before the Courts listed below on the date shown after
the name of each Court, and I am currently a member in good standing of all those Courts.


 District of Colorado (09/06/2018), U.S. Court of Appeals for the Third Circuit (04/25/2019),
 Eastern District of Pennsylvania (07/14/2020)



                                       323622
My attorney Identification number is: ___________________

 FOR COURT USE ONLY

 _____ GENERAL ADMISSION:

 GRANTED BY THE COURT: ______________________                          Date: _____________

 _____ SPECIAL ADMISSION:
                                                                             Mar 2, 2021
 GRANTED BY THE COURT _______________________                          Date: _____________
